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                        FOR THE MIDDLE Dff'flurroF ALABAMA
                                 NORTHERN DAI*IPI\tD 3: 514
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UNITED STATES OF AMERICA                                   '11'711,(1,V,
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         v.                                       CR.LNO.           A:/Tete.3r3-,419, 5/tib
                                                )        [18 U.S.C. § 922(g)(1);
LEGESTIN RICHARDS                               )         21 U.S.C. § 84](a)(1);
                                                )         18 U.S.C. § 924(c)(1)(A);
                                                          26 U.S.C. § 5841;
                                                          26 U.S.C. § 5861(d);
                                                          26 U.S.C. § 5871]

                                                      INDICTMENT
The Grand Jury charges:

                                           COUNT 1
                        (Possession of a Firearm by a Prohibited Person)

       On or about March 2, 2018, in Montgomery County, within the Middle District of

Alabama, the defendant,

                                    LEGESTIN RICHARDS,

knowing he had previously been convicted of a crime punishable by imprisonment for a term

exceeding one year, knowingly possessed a firearm and ammunition, to wit: an I.O. Inc., model
                                    ***
M214 Nano, 7.62 caliber handgun; a Jeffs Shooter Supply, model JSS15-A3, 5.56 caliber

handgun; a Beretta, model PX4 Storm,9mm caliber handgun; a CobralKodiak, model CA380,
                        ***
.380 caliber handgun; a HS Produkt, model XD40,.40 caliber handgun; and live ammunition,

and the firearm and ammunition were in and affecting interstate or foreign commerce, in

violation of Title 18, United States Code, Section 922(g)(1).

 ***Jeff's Shooter Supply, model JSS15-A3, 5.56 caliber handgun and HS Produkt, model XD40, .40 caliber
 handgun are stricken from the Indictment pursuant to Motion by USA [96] and Order of 9/11/2020 [98].
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                                             COUNT 2
                             (Violation of Controlled Substances Act)

        On or about March 2, 2018, in Montgomery County, within the Middle District of

Alabama, the defendant,

                                     LEGESTIN RICHARDS,

did knowingly and intentionally possess with intent to distribute a controlled substance, to wit: a

mixture and substance containing a detectable amount of marijuana, a Schedule I controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1).

                                             COUNT 3
                             (Violation of Controlled Substances Act)

        On or about March 2, 2018, in Montgomery County, within the Middle District of

Alabama, the defendant,

                                     LEGEST1N RICHARDS,

did knowingly and intentionally possess with intent to distribute a controlled substance, to wit: a

mixture and substance containing a detectable amount of oxycodone, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1).

                                            COUNT 4
              (Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

       On or about March 2, 2018, in Montgomery County, within the Middle District of

Alabama, the defendant,

                                     LEGESTIN RICHARDS,

did knowingly use and carry a firearm, during and in relation to, and possessed a firearm in

furtherance of, a drug trafficking crime for which he may be prosecuted in a court of the United

States, to wit: possession with intent to distribute a controlled substance, as set out and




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incorporated herein by reference from Counts 2 and 3 of the Indictment, in violation of Title 18,

United States Code, Section 924(c)(1)(A).

                                           COUNT 5
                              (Possession of Unregistered Firearm)

       On or about March 2, 2018,in Montgomery County, within the Middle District of

Alabama, the defendant,

                                    LEGESTIN RICHARDS,

knowingly possessed a firearm, to wit: an I.O. Inc., model M214 Nano, 7.62 caliber handgun

with a vertical foregrip, not registered to him in the National Firearms Registration and Transfer

Record, in violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.

                                FORFEITURE ALLEGATION-1

       A.      The allegations contained in Counts 1 and 4 of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeitures pursuant to Title

18, United States Code, Section 924(d)(1) by Title 28, United States Code, Section 2461(c).

       B.      Upon conviction of the offenses in violation of Title 18, United States Code,

Sections 922(g)(1) and 924(c)(1)(A) set forth in Counts 1 and 4 of this Indictment, the defendant,

                                    LEGESTIN RICHARDS,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d)(1) by

Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in the

commission of the offenses in violation of Title 18, United States Code, Sections 922(g)(1) and

924(c)(1)(A). The property includes, but is not limited to, an I.O. Inc., model M214 Nano,

7.62mm handgun; a Jeffs Shooter Supply, model JSS15-A3, 5.56mm handgun; a Cobra/Kodiak,

model CA380,.380 caliber handgun; a HS Produkt, model XD40,.40 caliber handgun; and live

ammunition.

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        C.     If any ofthe property described in this forfeiture allegation, as a result of any act or

omission of the defendant:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction of the court;

               (4)     has been substantially diminished in value; or

              (5)      has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

        All pursuant to Title 18, United States Code, Section 924(d)(1) by Title 28, United States

Code, Section 2461(c).

                                 FORFEITURE ALLEGATION-2

       A.      The allegations contained in Counts 2 and 3 of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeitures pursuant to Title

21, United States Code, Section 853.

       B.      Upon conviction ofthe offenses in violation of Title 21, United States Code,

Section 841(a)(1) set forth in Counts 2 and 3 of this Indictment, the defendant,

                                     LEGESTIN RICHARDS,

shall forfeit to the United States, pursuant to Title 21, United States Code, Section 853, any and

all property constituting or derived from proceeds defendant obtained directly or indirectly as a

result of the said violations and any and all property used or intended to be used in any manner

or part to commit and to facilitate the commission of the offenses in violation of Title 21, United

States Code, Section 841(a)(1). The property includes, but is not limited to, The property

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includes, but is not limited to, an I.O. Inc., model M214 Nano, 7.62mm handgun; a Jeffs

Shooter Supply, model JSS15-A3, 5.56mm handgun; a Cobra/Kodiak, model CA380,.380

caliber handgun; a HS Produkt, model XD40,.40 caliber handgun; and live ammunition.

       C.      If any ofthe property described in this forfeiture allegation, as a result of any act

or omission ofthe defendant:

              (1)      cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

                       has been placed beyond the jurisdiction ofthe court;

                       has been substantially diminished in value; or

                       has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

       All pursuant to Title 21, United States Code, Section 853.

                                 FORFEITURE ALLEGATION-3

       A.      The allegations contained in Count 5 ofthis Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to Title 26, United

States Code, Section 5872 and Title 28, United States Code, Section 2461(c).

       B.      Upon conviction of the offenses in violation of Title 26, United States Code,

Section 5861(c) set forth in Count 5 ofthis Indictment, the defendant,

                                     LEGESTIN RICHARDS,

shall forfeit to the United States, pursuant to Title 26, United States Code, Section 5872 and Title

28, United States Code, Section 2461(c), any firearms involved in the commission ofthe




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offenses in violation of Title 26, United States Code, Sections 5861(d). The property includes,

but is not limited to, an I.O. Inc., model M214 Nano, 7.62mm handgun.

       C.      If any ofthe property described in this forfeiture allegation, as a result of any act

or omission of the defendant:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction ofthe court;

               (4)     has been substantially diminished in value; or

              (5)      has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).

       All pursuant to Title 26, United States Code, Section 5872 and Title 28, United States

Code, Section 2461(c).

                                                              A TRUE BILL:




r
LOUIS V. F    LIN, SR.
UNITED STATES ATTORNEY



             idson
Assistant United States Attorney



R. Randolph Neeley
Assistant United States Attomey
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